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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NORTH DAKOTA

IN RE: Vortex Drain Tiling, LLC                         )    CHAPTER 7
                                                        )    CASE NO.16-30672
                                                        )
                                                        )    RESIGNATION AND
                                                        )    REPORT OF TRUSTEE
        Debtor(s).                                      )

The undersigned hereby resigns as trustee and makes this Report of Trustee.

        1. Attached as Form 1 is an accounting of the trustee’ s disposition of all property of the estate
prior to the trustee’ s resignation.

       2. Attached as Form 2 is an itemized statement of the trustee’ s receipts and disbursements
showing total receipts of $5,125.39, disbursements of $71.56, and a balance on hand of $5,053.83.

        3. Upon being notified of the appointment of a successor trustee, the trustee shall immediately
turn over the balance of funds on hand and all estate financial records to the successor trustee and
submit zero bank statements and canceled checks to the United States Trustee.

        WHEREFORE, the trustee requests that this report be accepted and that I be discharged from
any further duties as trustee.

DATED: September 11, 2017                                    /s/ Cheryl Bergian
                                                             Cheryl Bergian (#04608)
                                                             Bankruptcy Trustee
                                                             Cheryl Bergian Law Office
                                                             1712 Main Avenue, Suite 202
                                                             PO Box 2152
                                                             Fargo, ND 58107-2152
                                                             (701) 232-5051
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                                                                                  Form 1
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                                                              Individual Estate Property Record and Report
                                                                               Asset Cases
Case No.:    16-30672                                                                                                           Trustee Name:      (540100) Cheryl Bergian
Case Name:     VORTEX DRAIN TILING LLC                                                                                          Date Filed (f) or Converted (c): 12/28/2016 (f)
                                                                                                                                § 341(a) Meeting Date:     02/16/2017
For Period Ending:      09/11/2017                                                                                              Claims Bar Date: 05/22/2017

                                               1                                          2                            3                          4                      5                      6

                                       Asset Description                               Petition/               Estimated Net Value         Property Formally         Sale/Funds            Asset Fully
                            (Scheduled And Unscheduled (u) Property)                 Unscheduled          (Value Determined By Trustee,       Abandoned            Received by the      Administered (FA)/
                                                                                        Values               Less Liens, Exemptions,      OA=§554(a) abandon.          Estate            Gross Value of
                                                                                                                 and Other Costs)                                                       Remaining Assets

  Ref. #

    1       Insurance premium refund (u)                                                        25.00                             25.00                                         25.00                   0.00

    2       Account at Checking account Citizens Community Credit Union                            0.00                            0.00                                          0.00                   0.00

    3       Security deposit paid to Born to Run LLC                                          1,500.00                        1,500.00                                           0.00               1,500.00

    4       A/R 90 days old or less. Face amount = $81,598.52.                            81,598.52                         81,598.52                                            0.00           81,598.52
            Doubtful/Uncollectible accounts = $0.00.

    5       A/R 90 days old or less. Face amount = $0.                                             0.00                            0.00                                          0.00                   0.00
            Doubtful/Uncollectible accounts = $0.

    6       A/R 90 days old or less. Face amount = $394,431.25.                          394,431.25                        394,431.25                                            0.00         394,431.25
            Doubtful/Uncollectible accounts = $0.00.

    7       A/R 90 days old or less. Face amount = $60,281.13.                            60,281.13                         60,281.13                                            0.00           60,281.13
            Doubtful/Uncollectible accounts = $0.00.

    8       A/R 90 days old or less. Face amount = $0.                                             0.00                            0.00                                          0.00                   0.00
            Doubtful/Uncollectible accounts = $0.

    9       Desk. Valuation Method:                                                            200.00                           200.00                                           0.00                200.00

   10       Copier. Valuation Method:                                                          200.00                           200.00                                           0.00                200.00

   11       2014 Excavator Caterpillar - Serial #FJX01176.                               135,181.00                        135,181.00                                            0.00         135,181.00

   12       Screen FMX - Serial #5407585598.                                              12,000.00                         12,000.00                                            0.00           12,000.00
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                                                                 Individual Estate Property Record and Report
                                                                                  Asset Cases
Case No.:    16-30672                                                                                                             Trustee Name:      (540100) Cheryl Bergian
Case Name:      VORTEX DRAIN TILING LLC                                                                                           Date Filed (f) or Converted (c): 12/28/2016 (f)
                                                                                                                                  § 341(a) Meeting Date:     02/16/2017
For Period Ending:       09/11/2017                                                                                               Claims Bar Date: 05/22/2017

                                                  1                                          2                           3                          4                      5                      6

                                          Asset Description                               Petition/              Estimated Net Value         Property Formally         Sale/Funds            Asset Fully
                               (Scheduled And Unscheduled (u) Property)                 Unscheduled         (Value Determined By Trustee,       Abandoned            Received by the      Administered (FA)/
                                                                                           Values              Less Liens, Exemptions,      OA=§554(a) abandon.          Estate            Gross Value of
                                                                                                                   and Other Costs)                                                       Remaining Assets

  Ref. #

   13       2015 289D Caterpillar Skid Loader - Serial #C AT0289D KT                         60,000.00                        60,000.00                                            0.00           60,000.00
            AW03169.

   14       316 EL Caterpillar Excavator - Serial #CZW00147.                                133,000.00                       133,000.00                                            0.00         133,000.00

   15       966K Caterpillar Wheel Loader - Serial #TFS00170.                               192,010.00                       192,010.00                                            0.00         192,010.00

   16       950K Caterpillar Wheel Loader w/ Attachments - Serial                           129,000.00                       129,000.00                                            0.00         129,000.00
            #FER00182.

   17       Puma Loader International.                                                       15,000.00                        15,000.00                                            0.00           15,000.00

   18       2013 Puma 160 International S/N ZCBP19385.                                      112,500.00                       112,500.00                                            0.00         112,500.00

   19       Lots 3 and 4, Block 2, Senske's Second Addition to the City of                  147,000.00                       147,000.00                                            0.00         147,000.00
            Grand Forks, Grand Forks County, ND, Contract for Deed

   20       Workers' Compensation premium refund (u)                                             3,313.00                       3,313.00                                       3,313.00                   0.00

   21       Garnishment fee (u)                                                                    25.00                            25.00                                         25.00                   0.00

   22       Insurance premium refund (u)                                                         1,762.39                       1,762.39                                       1,762.39                   0.00

   23       Van trailer. (u)                                                                     4,000.00                       4,000.00                                           0.00               4,000.00

   24       Cat 365 CL Excavator. (u)                                                       250,000.00                       250,000.00                                            0.00         250,000.00

   25       Mision Trailer. (u)                                                                  2,500.00                       2,500.00                                           0.00               2,500.00
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                                                                Individual Estate Property Record and Report
                                                                                 Asset Cases
Case No.:     16-30672                                                                                                               Trustee Name:      (540100) Cheryl Bergian
Case Name:      VORTEX DRAIN TILING LLC                                                                                              Date Filed (f) or Converted (c): 12/28/2016 (f)
                                                                                                                                     § 341(a) Meeting Date:     02/16/2017
For Period Ending:        09/11/2017                                                                                                 Claims Bar Date: 05/22/2017

                                                 1                                              2                           3                          4                      5                        6

                                         Asset Description                                   Petition/              Estimated Net Value         Property Formally         Sale/Funds              Asset Fully
                              (Scheduled And Unscheduled (u) Property)                     Unscheduled         (Value Determined By Trustee,       Abandoned            Received by the        Administered (FA)/
                                                                                              Values              Less Liens, Exemptions,      OA=§554(a) abandon.          Estate              Gross Value of
                                                                                                                      and Other Costs)                                                         Remaining Assets

  Ref. #

   26       Copier. (u)                                                                             1,000.00                       1,000.00                                           0.00                 1,000.00

   27       Tools: jumpring jack, concrete saws. (u)                                            10,000.00                        10,000.00                                            0.00             10,000.00

   27       Assets            Totals       (Excluding unknown values)                      $1,746,527.29                   $1,746,527.29                                       $5,125.39         $1,741,401.90



        Major Activities Affecting Case Closing:
                                    Evaluating transfers in the year prior to bankruptcy filing, and ownership of unsecured business equipment


        Initial Projected Date Of Final Report (TFR):                    11/30/2017                             Current Projected Date Of Final Report (TFR):                     11/30/2017


             09/11/2017                                                                                           /s/Cheryl Bergian

                 Date                                                                                             Cheryl Bergian
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                                                              Cash Receipts And Disbursements Record

Case No.:                       16-30672                                                             Trustee Name:                 Cheryl Bergian (540100)
Case Name:                      VORTEX DRAIN TILING LLC                                              Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                                                                                       Account #:                    ******7300 Checking
For Period Ending:              09/11/2017                                                           Blanket Bond (per case limit): $13,681,000.00
                                                                                                     Separate Bond (if applicable): N/A



        1                 2                          3                                           4                                        5                  6                     7

   Transaction       Check or              Paid To / Received From             Description of Transaction          Uniform          Deposit           Disbursement         Account Balance
      Date            Ref. #                                                                                      Tran. Code          $                     $

   02/04/2017            {1}       Bremer Insurance Agencies, Inc        Premium overpaymet                       1229-000                    25.00                                       25.00
                                          633 Concord St. S.
                                       South St. Paul, MN 55075
   02/11/2017            {20}      Minn Workers Comp Assigned                                                     1229-000                3,313.00                                     3,338.00
                                   Risk Plan
                                         C/O RTW, Inc., 8500
                                      Normandale lake Blvd., Ste.
                                               1400
                                       Minneapolis, MN 55437
   02/28/2017                      Rabobank, N.A.                        Bank and Technology Services Fees        2600-000                                       10.00                 3,328.00

   03/13/2017            {21}      DCI Credit Services, Inc                                                       1290-000                    25.00                                    3,353.00
                                               Drawer 1347
                                           Dickinson, ND 58602
   03/13/2017            {22}      Bremer Insurance Agencies, Inc                                                 1290-000                1,762.39                                     5,115.39
                                        633 Concord Street S.
                                       South St. Paul, MN 55075
   03/31/2017                      Rabobank, N.A.                        Bank and Technology Services Fees        2600-000                                       10.00                 5,105.39

{ } Asset Reference(s)                                                                                                                                       ! - transaction has not been cleared
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                                                             Cash Receipts And Disbursements Record

Case No.:                      16-30672                                                                   Trustee Name:                 Cheryl Bergian (540100)
Case Name:                     VORTEX DRAIN TILING LLC                                                    Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                                                                                            Account #:                    ******7300 Checking
For Period Ending:             09/11/2017                                                                 Blanket Bond (per case limit): $13,681,000.00
                                                                                                          Separate Bond (if applicable): N/A



        1                 2                         3                                                 4                                        5                    6                      7

   Transaction       Check or             Paid To / Received From                Description of Transaction             Uniform          Deposit               Disbursement        Account Balance
      Date            Ref. #                                                                                           Tran. Code          $                         $

   04/28/2017                     Rabobank, N.A.                          Bank and Technology Services Fees            2600-000                                         10.00                  5,095.39

   05/24/2017            101      International Sureties, LTD.            Bond #016018056                              2300-000                                          1.56                  5,093.83
                                    701 Poydras Street, Ste. 420
                                      New Orleans, LA 70139
   05/31/2017                     Rabobank, N.A.                          Bank and Technology Services Fees            2600-000                                         10.00                  5,083.83

   06/30/2017                     Rabobank, N.A.                          Bank and Technology Services Fees            2600-000                                         10.00                  5,073.83

   07/31/2017                     Rabobank, N.A.                          Bank and Technology Services Fees            2600-000                                         10.00                  5,063.83

   08/31/2017                     Rabobank, N.A.                          Bank and Technology Services Fees            2600-000                                         10.00                  5,053.83

                                                                    COLUMN TOTALS                                                                   5,125.39             71.56                 $5,053.83
                                                                          Less: Bank Transfers/CDs                                                      0.00              0.00
                                                                    Subtotal                                                                        5,125.39             71.56
                                                                          Less: Payments to Debtors                                                                       0.00
                                                                    NET Receipts / Disbursements                                                   $5,125.39            $71.56




{ } Asset Reference(s)                                                                                                                                               ! - transaction has not been cleared
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                                                      Cash Receipts And Disbursements Record

Case No.:                  16-30672                                                Trustee Name:                 Cheryl Bergian (540100)
Case Name:                 VORTEX DRAIN TILING LLC                                 Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                                                                     Account #:                    ******7300 Checking
For Period Ending:         09/11/2017                                              Blanket Bond (per case limit): $13,681,000.00
                                                                                   Separate Bond (if applicable): N/A


                                      Net Receipts:             $5,125.39
                           Plus Gross Adjustments:                 $0.00
                         Less Payments to Debtor:                  $0.00
                 Less Other Noncompensable Items:                  $0.00

                                        Net Estate:             $5,125.39




                                                                TOTAL - ALL ACCOUNTS                    NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                ******7300 Checking                             $5,125.39              $71.56         $5,053.83

                                                                                                                  $5,125.39                $71.56         $5,053.83
